
PER CURIAM.
—-The court below has found that defendant so conducts its business and manages its turntable situate upon its premises as to constitute the same a nuisance as to plaintiff and his premises. The evidence given upon the trial tended to ■establish that defendant so conducted its business as to unnecessarily cause a vibration of its turntable, which was communicated. to plaintiff’s premises, and caused great annoyance and damage; that this condition was greatly aggravated by casting thereon smoke, cinders, and ashes, accompanied by irritating and harassing noises. The evidence warranted the court in making the finding which it did, and supports the judgment which was entered thereon.- Defendant seeks its reversal by claiming that it has authority for what it did in the statute authorizing its creation and operation, and hence no liability attaches thereto for its acts. It is not contended that there is any express power conferred in the statute authorizing it to maintain and operate the particular turntable and yard as it is now operated. But the claim is that it is within the ■clearly-expressed intention of the legislature, derived from the statute. The following authorities are abundant in answer to this claim: Cogswell v. Railroad Co., 103 N. Y. 10; Morton v. City of New. York, 140 N. Y. 207 ; 55 S. R. 413 ; Booth v. Railroad Co., 140 N. Y. 267; 55 S. R. 656 ; Hill v. City of New York, 139 N. Y. 495 ; 54 S. R. 797; Baltimore &amp; P. R. Co. v. Fifth Baptist Church, 108 U. S. 317 ; 2 Sup. Ct. 719.
There is no force in the suggestion that the judgment is *811inconsistent in not awarding damages. The equitable powers of the court may be properly invoked to restrain the commission of a wrong of which it can take cognizance, and it may render any judgment essential to accomplish that end which is warranted by the evidence. We find no error.
The judgment should therefore be affirmed, with costs.
